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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


CITIZENS FOR RESPONSIBILITY AND
ETHICS IN WASHINGTON et al.,

                       Plaintiffs,

       v.                                     No. 19-cv-1333 ABJ

DONALD J. TRUMP, in his official
capacity as President of the United States,
et al.,

                       Defendants.


                         DEFENDANTS’ REPLY IN SUPPORT OF
                          DEFENDANTS’ MOTION TO DISMISS
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                                        INTRODUCTION

       Plaintiffs’ allegations that the President has violated the Presidential Records Act of 1978

(“PRA”), 44 U.S.C. §§ 2201–2209, by failing to create records of his meetings with foreign leaders

fall squarely within the bar on judicial review recognized by the D.C. Circuit in Armstrong v. Bush

(“Armstrong I”), 924 F.2d 282 (D.C. Cir. 1991). Plaintiffs’ Complaint asserts the same claims in

three different ways in an effort to evade Armstrong’s holding, but whether they invoke mandamus

jurisdiction, the Declaratory Judgment Act, or the Take Care Clause, their efforts necessarily fail

in the face of Armstrong’s binding authority. Recognizing this, Plaintiffs’ opposition brief adds a

fourth prong to their attack, suggesting that the Court simply ignore Armstrong altogether. Of

course, this Court cannot do that, and Plaintiffs anyway cite no valid basis for their suggestion. As

Armstrong requires, the Court should dismiss Plaintiffs’ claims.

                                          ARGUMENT

I.     PLAINTIFFS FAIL TO OVERCOME THE PRA’S BAR ON JUDICIAL REVIEW

       A.      Armstrong I and II Recognize Congress’s Intent To Preclude Judicial Review
               of Plaintiffs’ Claims

       Under the well-established authority of this Circuit, judicial review of Plaintiffs’ claims is

precluded. Armstrong I held that the PRA precludes judicial review “of the president’s general

compliance with the PRA,” including “the adequacy of the President’s records management

practices” as well as the President’s “records creation, management, and disposal decisions.”

Armstrong I, 924 F.2d at 290–91. The court’s later decision in Armstrong v. Exec. Office of the

President (“Armstrong II”), 1 F.3d 1274 (D.C. Cir. 1993), confirmed that this bar encompasses the

President’s compliance with his obligations under 44 U.S.C. § 2203, including “any decisions

regarding whether to create a documentary presidential record,” as well as “the day-to-day process

by which presidential records are maintained,” and “the process outlined in 44 U.S.C. § 2203(c)–
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(e) for disposing of presidential records.” Armstrong II, 1 F.3d at 1294. Although this preclusion

of judicial review under the PRA is sweeping, there can be no dispute that the D.C. Circuit

recognized such a broad bar. Its reasoning in doing so was simple. The court held that, in light of

separation of powers concerns, Congress did not intend to rely on the courts to enforce the

President’s compliance with the PRA’s requirements, but instead “relied on the fact that

subsequent Presidents would honor their statutory obligations.” Armstrong I, 924 F.2d at 290.

       Plaintiffs attempt to evade the clear holdings of Armstrong I and II, noting that Armstrong

II rejected an “unequivocal proposition that all decisions made pursuant to the PRA are immune

from judicial review.” See Pl. Opp. at 15 (emphasis added) (quoting Armstrong II, 1 F.3d at 1293).

But in fact, the only PRA-related decisions that the court in Armstrong II subjected to judicial

review are those involving “the initial classification of materials as presidential records.”

Armstrong II, 1 F.3d at 1293. The court carved out that exception in the narrow circumstance

where such initial classification determinations implicated a competing statutory scheme—that set

forth in the Federal Records Act (“FRA”), 44 U.S.C. Titles 21, 29, 31, 33, and the Freedom of

Information Act (“FOIA”), 5 U.S.C. § 552, which allow not only for broader judicial review but

also for broader public access to the records covered by those statutes. It was only to avoid

“render[ing] the FOIA a nullity,” and to prevent the PRA from being used to “shield all federal

records,” rather than only Presidential records, “from the provisions of the FRA,” that review of

guidelines setting forth initial classification criteria would be allowed. See id. (emphasis added).

Significantly, the court contrasted that narrow category of “initial classification” guidelines with

the far broader category of decisions, covering the “creation, management, and disposal” of

Presidential records, that are “described in the provisions of 44 U.S.C. § 2203,” where judicial

review is squarely precluded. Armstrong II, 1 F.3d at 1294.



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       Try as they might, Plaintiffs cannot fit the claim they wish to make here into the Armstrong

II exception. Fundamentally, their claim is that Defendants fail to adequately document and

properly maintain records relating to their meetings with foreign leaders, as required by 44 U.S.C.

§ 2203. Compl. ¶¶ 76, 81, 92; Pl. Opp. at 16–17 (recognizing that, “[a]t its core,” Plaintiffs’

complaint challenges an alleged refusal to create written records of meetings with foreign leaders).

Plaintiffs also assert that Defendants have failed to follow the records disposal procedures required

by 44 U.S.C. § 2203. Compl. ¶ 76, 98. These claims, regarding the “creation, management, and

disposal” of Presidential records, fall squarely within the category of precluded claims identified

in Armstrong I and II. See Armstrong II, 1 F.3d at 1294.

       Plaintiffs’ suggestions to the contrary are unconvincing. Plaintiffs largely rely on a tortured

characterization of their own claim, asserting their intent to challenge “a policy and practice of

excluding from the PRA an entire class of activities: top-level meetings between the President and

certain foreign leaders.” Pl. Opp. at 19. But by “excluding” a “class of activities” “from the PRA,”

Plaintiffs simply mean that the President allegedly fails to create records adequately documenting

those activities in accord with 44 U.S.C. § 2203(a). See Pl. Opp. at 19 (citing § 2203(a)). And

under Armstrong I and II, Defendants’ compliance with the requirements of § 2203 is precisely

what the Court cannot review.

       There is no genuine issue of “classification” here at all. Plaintiffs have not plausibly

asserted that records of the President’s meetings with foreign leaders would be anything other than

Presidential records, if they were created. To the contrary, the entire premise of their assertion that

the President has failed to satisfy the PRA’s “adequate documentation” requirement, when it

comes to meetings with foreign leaders, is that the President is failing to create Presidential

records. Nor have Plaintiffs plausibly asserted that Defendants have categorized such records



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inappropriately. Unlike in Armstrong II, Presidential records documenting the President’s

meetings with foreign leaders could not be immediately sought from an agency through FOIA, so

the rationale of Armstrong II, that a category of records may have been classified as Presidential

when they were actually federal records, and thus may have been improperly removed from the

reach of FOIA, does not apply. See Armstrong II, 1 F.3d at 1293 (indicating the concern that “a

non-presidential document subject to the FOIA could be forever removed from that statute’s

provisions if it were improperly classified as a presidential record and destroyed”). 1 Plaintiffs also

make no suggestion that Defendants have classified records of the President’s meetings with

foreign leaders as personal records—unlike the situation in CREW v. Cheney, 593 F. Supp. 2d 194,

215 (D.D.C. 2009), upon which Plaintiffs rely. 2




1
 Although Presidential records become subject to FOIA five years after the President leaves office,
that future possibility did not affect the conclusion of the court in Armstrong I and II that the
President’s compliance with the PRA was otherwise unreviewable. To the contrary, the court in
Armstrong II expressly recognized that one result of the balance that Congress had struck in the
PRA was that Presidential records might be disposed of before a President leaves office, and that
any such disposal decisions are unreviewable. See Armstrong II, 1 F.3d at 1293. That possibility
contributed to the court’s rationale for deeming initial classification decisions reviewable, but it
did not affect the court’s broader conclusion that Congress did not intend the President’s records
creation, management, and disposal decisions to be subject to judicial review. See id. Along the
same lines, Plaintiffs’ argument that, if read to bar their claims, Armstrong II “would allow the
President to decline to create any records whatsoever, subject to no judicial check,” Pl. Opp. at 21,
misses the mark. As the D.C. Circuit recognized, Congress in the PRA did not intend for the courts
to “check” the President when it comes to his compliance with 44 U.S.C. § 2203; instead, it “relied
on the fact that subsequent Presidents would honor their statutory obligations.” Armstrong I, 924
F.2d at 290. Here, for example, the White House’s 2017 memo does “just what the PRA requires”
in directing White House personnel to preserve and maintain Presidential records. CREW v.
Trump, 924 F.3d. 602, 607 (D.C. Cir. 2019).
2
  Significantly, in the same CREW v. Cheney decision cited by Plaintiffs, the court granted
summary judgment to the government. Id. at 233. The government therefore had no occasion to
appeal the court’s ruling that mandamus relief could be sought in the narrow circumstance
presented there. In any event, the claim in Cheney, that the Vice President was improperly
designating certain records as “personal,” in conflict with the PRA’s definition of Vice Presidential
records, is far closer to the Armstrong II exception than are Plaintiffs’ claims in this case.
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       In their Complaint, Plaintiffs try to use the alleged incident of the President taking

possession of an interpreter’s so-called “notes” as a hook to bring their claim within the Armstrong

II exception, but this gambit gains them nothing, particularly when their assertion that the

interpreter’s notes qualify as a “federal record” within the meaning of the FRA is pure speculation.

Plaintiffs’ opposition brief largely abandons any reliance on that incident. Instead, Plaintiffs’ brief

seeks to focus on a broader notion that the President and his staff are “prevent[ing] agencies from

creating and preserving records of their interactions with certain foreign leaders in violation of the

FRA.” Pl. Opp. at 20.

       But this theory is untenable and does nothing to introduce a “classification” issue that

would bring Plaintiffs’ claims within the ambit of the Armstrong II exception. Although the FRA

requires agencies to “make and preserve records containing adequate and proper documentation

of the organization, functions, policies, decisions, procedures, and essential transactions of the

agency,” 44 U.S.C. § 3101 (emphasis added), it imposes no obligation on agencies to create

records documenting the President’s activities. To the extent Plaintiffs’ theory here can be

understood, it seems to rely on the notion that, because the President allegedly refuses to include

State Department employees (other than, on occasion, interpreters who assist the President with

real-time translation during the meeting) as participants in his one-on-one meetings with foreign

leaders, those State Department employees are unable to document the meetings. But neither the

PRA nor the FRA requires State Department employees to document meetings at which they are

not present and in which they play no substantive role. Plaintiffs’ theory puts the cart before the

horse by suggesting that the President’s decisions about who should attend or participate in his

meetings with foreign leaders should be driven by what recordkeeping obligations might thereby

be triggered, rather than by the President’s foreign policy strategy. This convoluted logic runs



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straight into the President’s authority “to speak and bargain effectively with other nations,” Crosby

v. Nat’l Foreign Trade Council, 530 U.S. 363, 382 (2000), and precludes judicial review on that

basis alone.

       Moreover, even under Plaintiffs’ description, an official “note taker” might just as easily

be an employee of the National Security Council (“NSC”)—which is not subject to the FRA—as

an employee of the State Department. See Compl. ¶ 64; Pl. Opp. at 9. Thus, even assuming—

contrary to the D.C. Circuit’s holding in Judicial Watch Inc. v. U.S. Secret Serv., 726 F.3d 208

(D.C. Cir. 2013), see Def. Mem. at 19 n.10—that a State Department note taker whose role is to

document a meeting between the President and a foreign leader would ultimately create a federal

record rather than a Presidential record, an NSC note taker in the very same role would necessarily

produce a Presidential, rather than a federal, record. Clearly then, nothing requires that any record

created in this circumstance be a federal record. Plaintiffs’ factual allegations thus raise no genuine

FRA issue, nor any issue of improperly classifying federal records as Presidential records. The

mere fact that Plaintiffs cite the FRA and baldly assert that the President has improperly

“classified” federal records as Presidential records is insufficient to allow judicial review when

their underlying allegations all concern supposed violations of 44 U.S.C. § 2203 and thus fall

squarely within Armstrong’s bar.

       Because Plaintiffs’ claims expressly implicate the very type of Presidential decisionmaking

that Armstrong I and II held is beyond the scope of judicial review, it does not matter that Plaintiffs

purport to challenge a “policy and practice,” Pl. Opp. at 16, rather than decisions regarding specific

records. Importantly, the PRA analysis in Armstrong II did not distinguish between the President’s

general recordkeeping practices, on the one hand, and decisions regarding specific records, on the

other. Rather, Armstrong II held that, as part of the President’s “virtually complete control” over



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Presidential records, “the President’s recordkeeping practices and decisions” are exempt from

judicial review, with the exception of any guidelines setting forth initial classification criteria.

Armstrong II, 1 F.3d at 1290 (emphasis added). 3 Plaintiffs’ extensive discussion of their “policy

and practice” claim misses the mark entirely. Plaintiffs concede that they claim violations of 44

U.S.C. § 2203, which plainly fall within the Armstrong bar, and their claim fails to identify any

initial classification guideline—even an unwritten one—that could implicate the Armstrong II

exception. The Court therefore lacks subject matter jurisdiction over Plaintiffs’ claims of PRA

violations. Accordingly, this case should be dismissed in its entirety.

       B.      The Court Should Reject Plaintiffs’ Invitation To Overrule Armstrong I

       Recognizing that Armstrong I and II clearly require their claims’ dismissal, Plaintiffs ask

this Court to hold that Armstrong I was wrongly decided. See Pl. Opp. at 21, 39–45. The Court

should reject this invitation. “[D]istrict judges, like panels of [the D.C. Circuit], are obligated to

follow controlling circuit precedent until either [the Circuit], sitting en banc, or the Supreme Court,

overrule[s] it.” Brookens v. Acosta, 297 F. Supp. 3d 40, 47 (D.D.C. 2018) (quoting United States

v. Torres, 115 F.3d 1033, 1036 (D.C. Cir. 1997)), aff'd sub nom. Brookens v. Dep't of Labor, No.

18-5129, 2018 WL 5118489 (D.C. Cir. Sept. 19, 2018); see also Agostini v. Felton, 521 U.S. 203,

207 (1997) (“[L]ower courts should follow the case which directly controls, leaving to this Court

the prerogative of overruling its own decisions.”). Armstrong I and II directly control this case, as



3
  This is in contrast to the jurisprudence under the FRA, which in some circumstances has allowed
challenges, under the Administrative Procedure Act (“APA”), 5 U.S.C. § 706, to recordkeeping
guidelines and directives, even though individual acts of noncompliance with such guidelines and
directives are not reviewable. Armstrong I, 924 F.2d at 293; CREW v. Pruitt (“Pruitt”), 319 F.
Supp. 3d 252, 260 (D.D.C. 2018). In other words, the PRA contains no general “guidelines and
directives” or “policies and practices” exception to its implicit bar on judicial review. Rather, the
Armstrong II exception applies only to guidelines that set forth initial classification criteria
regarding what records qualify as “presidential.” Armstrong II, 1 F.3d at 1290.


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they expressly address the availability of judicial review over claims of PRA violations. And

Plaintiffs point to no intervening Supreme Court or Circuit case that has overruled those decisions.

        Rather, Plaintiffs’ theory is that the D.C. Circuit did not take into account certain prior

authority when reaching its decision in Armstrong I. See Pl. Opp. at 39. The fact that Armstrong I

did not cite the decisions referenced by Plaintiffs does not mean that the court failed to consider

them, nor that Armstrong I was wrongly decided. Neither of the cases that Plaintiffs cite addressed

the availability of judicial review to consider the President’s compliance with the PRA, and neither

of them conflict with Armstrong I. In Nixon v. Adm’r of Gen. Servs., 433 U.S. 425 (1977), the

Court considered a claim brought by former President Nixon, asserting that a statute that would

require the GSA Administrator to take custody of and preserve his records, now that he was no

longer in office, violated separation of powers principles. See id. at 439. The Court rejected his

claim, largely because the statute merely required preservation of the materials at issue within the

Executive Branch. See id. at 445. The Court’s decision thus did not address the statutory provisions

at issue here, purporting to impose recordkeeping requirements on a President while he is still in

office. Nor did it address the availability of judicial review for private parties alleging that the

President has violated such statutory provisions. The court in Armstrong I addressed both of those

issues directly, in connection with claims brought by private parties challenging compliance with

the very statute at issue here. The court’s reasoning in that case is not only binding but persuasive,

given the very different equities involved when it comes to review of a President’s conduct while

he is in office.

        The Court’s decision in Youngstown Sheet & Tube Co., 343 U.S. 579 (1952), is even farther

afield from the case here. That case held that an executive order directing the Secretary of

Commerce to take possession of and operate privately-owned steel mills was an improper exercise



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of legislative authority by the President. See id. at 588. Such a holding has no relevance here

because, as discussed in further detail below in the section addressing Plaintiffs’ Take Care Clause

claim, the President’s purported lack of compliance with a statute is in no way equivalent to an

exercise of legislative authority.

        Moreover, while Plaintiffs contend that the D.C. Circuit in Armstrong I misconstrued the

PRA’s legislative history, they point to nothing in the legislative history that suggests that

Congress intended to subject the President to lawsuits by private parties based on an alleged failure

to comply with the PRA. The legislative history that they do cite suggests the opposite, and is thus

consistent with Armstrong I. For example, Plaintiffs recognize that Congress intended that

Presidential records not be publicly available until after the President leaves office. Pl. Opp. at 44.

But that intent would be undermined if the President were forced to present his records in court as

evidence, in response to private lawsuits, establishing that his recordkeeping is adequate. Plaintiffs

falsely equate judicial review with statutory compliance. Their assertion that Congress intended

the President to comply with the PRA’s provisions is undoubtedly true, but as Armstrong I stated,

Congress did not intend to rely on the courts to enforce the President’s compliance with the PRA’s

requirements, but instead “relied on the fact that subsequent Presidents would honor their statutory

obligations.” Armstrong I, 924 F.2d at 290. Plaintiffs identify no valid basis for the Court to find

Armstrong I wrongly decided, even if it had the power to do so. The Court thus should reject

Plaintiffs’ invitation to overrule the D.C. Circuit and instead should dismiss this case as Armstrong

I and II require.




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II.    PLAINTIFFS FAIL TO SHOW ENTITLEMENT TO MANDAMUS RELIEF

       A.      Plaintiffs Have Not Identified a Clear Right To Relief

       Claim One of Plaintiffs’ Complaint, seeking mandamus relief, should also be dismissed

because Plaintiffs cannot establish the elements of mandamus jurisdiction. Plaintiffs fail to show

that this case presents an “extraordinary situation[]” warranting the “drastic” remedy of mandamus

relief. See CREW, 924 F.3d at 606. As explained in Defendants’ opening brief, the D.C. Circuit’s

holding that judicial review is precluded for PRA claims like the ones here requires the conclusion

that Plaintiffs have no clear right to relief. Plaintiffs largely ignore this glaring impediment to

establishing the “clear right to relief” prong of mandamus jurisdiction and instead attempt to refute

alternative arguments that the Court need not reach. However, those attempts also fail.

       Plaintiffs’ claimed “clear right to relief” boils down to an assertion that they have plausibly

alleged that the President has violated the PRA by “refus[ing] to document his meetings with

certain foreign officials.” Pl. Opp. at 27. But that allegation is speculative rather than plausible.

Indeed, Plaintiffs expressly concede in their Complaint that documentation of such meetings has

occurred. E.g., Compl. ¶ 40 (referencing a “readout” of a meeting between the President and

Russian officials that was “released by the White House Office of the Press Secretary”).

       The only sources Plaintiffs identify for the notion that, despite such concessions, such

meetings are not being documented are hearsay statements from unidentified individuals

paraphrased in newspaper articles, but Plaintiffs mischaracterize and misrepresent the import of

even those unauthoritative reports. For example, the January 2019 Washington Post article upon

which Plaintiffs heavily rely states that then-Secretary of State Rex Tillerson “shared” with other

officials a “readout” of the very 2017 meeting that Plaintiffs complain went undocumented due to




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the President’s alleged taking possession of an interpreter’s notes. 4 Nothing in the PRA requires

documentation of the President’s activities simultaneously with their occurrence; rather, those

activities can be documented afterwards. The far more plausible reading of the Post report is that

documentation of the meeting did occur afterwards, based on then-Secretary Tillerson’s readout,

and any action by the President to take possession of the interpreter’s so-called notes had nothing

to do with that effort, but merely was done out of an abundance of caution to protect the meeting’s

confidentiality. Moreover, Plaintiffs’ bald assertion in their brief that the interpreter’s notes were

“destroyed,” Pl. Opp. at 28, is based on nothing at all, as they fail to cite even hearsay statements

supporting such a claim, and they included no such allegation in their Complaint. “Confiscat[ing]”

an interpreter’s notes is not the same as destroying them, Compl. ¶ 42, nor is ripping up “papers”

the same as destroying Presidential records, id. ¶ 68; see also Pl. Opp. at 28.

       Even more egregiously, Plaintiffs filed a Motion for Temporary Restraining Order in this

Court that sought to rely on a White House record memorializing a telephone call between the

President and a foreign leader—a record that expressly refutes the plausibility of their underlying

claim that no such records are being created. See Memorandum of Telephone Conversation (July

25, 2019), Pl. TRO Mem. ex. B [ECF 16-2]. Even in the face of that direct contrary evidence,

Plaintiffs sought to argue that they were likely to succeed in obtaining mandamus relief compelling

the President to do what that record shows is already being done.

       Plaintiffs also inexplicably discount the 2017 Memo requiring White House employees to




4
 See Greg Miller, Trump has concealed details of his face-to-face encounters with Putin from
senior officials in administration, Washington Post, Jan. 13, 2019, available at
https://www.washingtonpost.com/world/national-security/trump-has-concealed-details-of-his-
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comply with the PRA, 5 even though the D.C. Circuit has expressly recognized that that Memo

does “just what the PRA requires” in directing White House staff to follow the PRA. See CREW,

924 F.3d at 607. Plaintiffs argue that the Memo is irrelevant here because, they say, the Memo

cannot be enforced internally against the President. Pl. Opp. at 29. But Plaintiffs cite nothing

suggesting that the PRA requires the President’s activities to be documented by the President

himself, and their descriptions of procedures supposedly followed in prior Administrations when

Presidents met with foreign leaders show that the documentation of such meetings was not done

by prior Presidents, but by their staff. Compl. ¶¶ 64–67. The 2017 Memo indisputably applies to

White House staff.

       Plaintiffs also fail to plausibly allege that the President is “defying” PRA requirements, see

CREW, 924 F.3d at 606, simply based on his decisions regarding who should be present in his

meetings with foreign leaders. As explained in Defendants’ opening brief, Def. Mem. at 23, the

President necessarily has “broad authority” when it comes to such meetings. PHH Corp. v.

Consumer Fin. Prot. Bureau, 881 F.3d 75, 107 (D.C. Cir. 2018); see Crosby, 530 U.S. at 382.

Plaintiffs argue that they are not asking the Court to impose limits on how the President interacts

with foreign leaders, Pl. Opp. at 29, but in fact they are doing just that. They evidently seek to

compel the President to include note takers at every meeting with a foreign leader, or to assign the

role of note taker to interpreters who normally would not be carrying out such functions, but would

be assisting the President with real-time translation. But a Court order imposing such a requirement

would unquestionably interfere with the President’s Article II authorities, particularly if the




5
 See generally Memorandum for All Personnel Regarding Presidential Records Act Obligations
(Feb. 22, 2017), https://go.usa.gov/xEckn (National Archives).
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President has determined that his negotiations would be most effective in a one-on-one meeting

without note takers present.

       Nothing in the PRA suggests that note takers’ attendance at the President’s meetings with

foreign leaders is compulsory. The PRA requires adequate documentation of the President’s

official activities, but it does not dictate how or when such documentation should occur, nor does

it specify what is necessary for such documentation to be “adequate.” See 44 U.S.C. § 2203(a).

Those determinations are left to the President, who in his discretion may take into account his

broader foreign policy goals in such decisions. A mandamus claim seeking to enforce the PRA’s

recordkeeping provisions is not a proper vehicle for judicial interference in this sensitive area. 6

       Plaintiffs thus fail to plausibly allege that Defendants are “defying the law” with respect to

the PRA. See CREW, 924 F.3d at 606. And the D.C. Circuit’s conclusion in CREW applies equally

here: Even if Plaintiffs’ allegations can be read to raise “questions about ‘what is actually




6
  Plaintiffs’ TRO Motion suggested that the Court should take into account allegations set forth in
a whistleblower complaint regarding the July 25, 2019 telephone call between the President and
the President of Ukraine. Pl. TRO Mem. at 4–7. Contrary to Plaintiffs’ assertions, those allegations
do not implicate the PRA, which, as discussed below, imposes no restrictions on where records
are stored, or how records are or are not disseminated to Executive Branch agencies. They
therefore are entirely irrelevant to the claims asserted in this case—although the whistleblower
complaint’s reference to a record of the President’s telephone call, and the White House’s
production of such a record, further undermine Plaintiffs’ claim that no records of the President’s
meetings are being made, as noted above. Nor would it be appropriate for the Court to consider
any ongoing evaluation by Congress of the substance of the President’s meetings with foreign
leaders, or to engage in any independent evaluation of such meetings, when determining the
Court’s subject matter jurisdiction over Plaintiffs’ claims of alleged PRA violations. There is no
indication that Congress intended the PRA as a vehicle for private parties to raise, or for courts to
evaluate, substantive questions regarding a President’s conduct during meetings with foreign
leaders. Indeed, Plaintiffs concede that Congress did not view the PRA as a tool for allowing public
access to information about the President’s activities while he is in office; rather, the PRA was
intended to ensure that Presidential records in existence at the end of a President’s term would
remain in government custody after the President leaves office. Pl. Opp. at 10. Such records may
only become publicly available sometime after that. See Def. Mem. at 8.


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happening in the White House,’” such “open questions” are “the antithesis of the ‘clear and

indisputable’ right needed for mandamus relief.” CREW, 924 F.3d at 608.

       B.      Plaintiffs Have Not Identified a Clear Duty To Act

       As explained in Defendants’ opening brief, the PRA does not impose ministerial duties that

the Court could enforce, with respect to the President’s creation of records of his meetings with

foreign leaders and the PRA’s other requirements. Def. Mem. at 23–25. To the contrary, to

construe the PRA as imposing ministerial duties would be incompatible with the D.C. Circuit’s

recognition that the President has “virtually complete control” over records creation, management

and disposal during his term in office. Armstrong I, 924 F.3d at 290. Plaintiffs concede that the

PRA vests discretion in the President, but they argue this discretion is only “within limits.” Pl.

Opp. at 23. Neither Armstrong nor the language of the PRA supports their argument. Particularly

in connection with the creation of records—the only genuine claim that Plaintiffs raise here 7—the

PRA clearly vests broad discretion in the President to determine what “steps . . . may be necessary”

to ensure “adequate documentation,” as well as what documentation is “adequate” in any given

circumstance. 44 U.S.C. § 2203(a). These requirements cannot be considered ministerial, even




7
  Plaintiffs purport to raise claims regarding other supposedly ministerial duties, including “the
duty to categorize records as presidential or personal,” “the duty to comply with the PRA’s
notification procedures prior to destroying presidential records,” and “the duty to implement record
management controls.” Pl. Opp. at 23 (citing Compl. ¶¶ 27, 32, 74). The PRA provisions cited by
Plaintiffs fail to impose ministerial duties with respect to such actions. See, e.g., 44 U.S.C.
§ 2203(a) (identifying “records management controls” simply as one means of ensuring adequate
documentation, preservation, and maintenance of Presidential records); id. § 2203(b)
(classifications of records as Presidential or personal only need occur “to the extent practicable”
upon their creation or receipt); id. § 2203(c) (authorizing the President to dispose of certain records
in certain circumstances). More importantly, however, Plaintiffs’ Complaint does not include any
allegations purporting to suggest that those provisions have been violated, nor does their
opposition brief attempt to show that the President has “def[ied] the law,” CREW, 924 F.3d at 606.
with respect to those provisions. Indeed, the 2017 Memo directly refutes the notion that no “record
management controls” are in place.
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“within limits.” Cf. Armstrong II, 1 F.3d at 1294 (“any decisions regarding whether to create a

documentary presidential record” are within the President’s discretion and not subject to judicial

review). The situation here is thus vastly different from those addressed in the cases cited by

Plaintiffs, one of which involved alleged violations of the FRA rather than the PRA, CREW v.

EOP, 587 F. Supp. 2d 48, 63 (D.D.C. 2008), and both of which involved alleged duties that were

well defined, rather than dependent on the President’s exercise of discretion, see id. (suggesting

that mandamus would only be appropriate, if at all, with respect to “specific requirements”

imposed by the FRA); CREW v. Cheney, 593 F. Supp. 2d at 220 (holding that although the

obligations under 44 U.S.C. § 2203 were discretionary, the definition of Vice-Presidential records

in 44 U.S.C. § 2201(2) imposed a ministerial duty to include all such records in any preservation

efforts).

        Moreover, Plaintiffs’ allegations further highlight the non-ministerial nature of their

demands. As described above, Plaintiffs concede that even the newspaper accounts that they cite

indicate that records are being created. However, they appear to contend that those records are not

always “adequate” because the newspapers suggest that the certain information was not included,

or that the President’s public representations were in conflict with the accounts of foreign leaders.

E.g., Compl. ¶¶ 41, 44, 45, 46–47. Plaintiffs even go so far as to suggest that the substance of a

President’s alleged statement in a telephone call to a foreign leader, which allegedly contradicted

his advisers’ advice, somehow implicates the PRA. Id. ¶ 56. The notion that the Court should

evaluate what level of documentation is “adequate” in this context, or should police the content of

the President’s conversations, is troubling, to say the least, and surely does not support Plaintiffs’

argument that they seek only to enforce ministerial duties.

        Plaintiffs also contend that the President limits access by White House and other



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government officials to information about his meetings. E.g., id. ¶¶ 53, 55. In their TRO Motion,

for example, Plaintiffs attempted to highlight allegations that records of meetings have been stored

on a secure computer server, or have been retrieved from Executive Branch agencies. Pl. TRO

Mem. [ECF 16] at 5–6, 7. But Plaintiffs point to nothing in the PRA purporting to regulate how

the President shares or stores information during his term in office. In fact, the PRA imposes no

duties on the President—ministerial or otherwise—in connection with the dissemination of

records, sharing records with other government officials, or the locations where records are stored

during his term in office. Such issues simply have nothing to do with the PRA.

       Although, as noted, Plaintiffs raise no genuine claim regarding classification or disposal of

records, Plaintiffs’ concession that the President does have discretion over “when to categorize

records,” Pl. Opp. at 24, entirely undermines any such claim, as it shows that, even if there might

be an obligation to classify records at some point before the President leaves office, no such

ministerial obligation is in effect now. Any failure to classify records at this point therefore would

not “defy[] the law,” CREW, 924 F.3d at 606. Indeed, none of the provisions of 44 U.S.C. § 2203

specify when their described actions should be carried out, and Plaintiffs similarly concede that

the prerequisite steps to records disposal, set forth in § 2203(c), could only be triggered if the

President intends to “destroy presidential records.” Pl. Opp. at 24. Plaintiffs fail to identify any

intended disposal of records by the President, so their contention that the statute currently imposes

a ministerial duty with respect to such disposal is untenable.

       Plaintiffs’ further concession that the President has “complete control” over “the

disposition of particular documents while in office,” also fails to bolster the notion that the PRA

imposes ministerial duties in connection with records disposal, or any other aspect of records

management. See Pl. Opp. at 25. Indeed, Plaintiffs reverse the applicable analysis by arguing that



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“[b]ecause the President has a clear duty to act prior to destroying presidential records, it is a

ministerial duty.” Id. To the contrary, the “clear duty” prong can only be satisfied if a duty is not

only “ministerial” but “peremptory” and “clearly defined.” 13th Reg’l Corp. v. U.S. Dep’t of

Interior, 654 F.2d 758, 760 (D.C. Cir. 1980). By its own terms, 44 U.S.C. § 2203(c) does not

require the President to dispose of any records; any such disposal, and any accompanying

prerequisites to such disposal, therefore is purely a matter of discretion. Plaintiffs thus fail to

establish the “clear duty to act” prong of mandamus jurisdiction, and their mandamus claims

accordingly should be dismissed.

       C.      Plaintiffs Fail To Show that Mandamus Relief Against the President Is
               Available

       Above and beyond Plaintiffs’ failure to establish the elements of mandamus jurisdiction,

the Court lacks jurisdiction to issue a writ of mandamus against the President himself in order to

compel his compliance with the PRA. As explained in Defendants’ opening brief, no court has

taken such a step. See Def. Mem. at 25–26. Plaintiffs claim that two Supreme Court cases have

“upheld such relief,” Pl. Opp. at 32, but they grossly mischaracterize both decisions. In United

States v. Nixon, 418 U.S. 683 (1974), the Court did not grant mandamus relief compelling the

President to comply with a statute; instead, it affirmed an order requiring submission for in camera

review of material at issue in a motion to quash a subpoena. See id. at 715–16. The other case cited

by Plaintiffs, Boumediene v. Bush, 553 U.S. 723 (2008), similarly does not grant injunctive relief

against the President; rather, it held that Guantanamo detainees could pursue habeas relief. See id.

at 795. Contrary to Plaintiffs’ contention, the D.C. Circuit’s holding in Newdow v. Roberts, 603

F.3d 1002 (D.C. Cir. 2010), that “courts do not have jurisdiction to enjoin [the President],” remains

binding. Id. at 1013.




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III.   PLAINTIFFS CANNOT ESTABLISH ENTITLEMENT TO DECLARATORY
       RELIEF

       As explained in Defendants’ opening brief, see Def. Mem. at 26–27, the Declaratory

Judgment Act, 28 U.S.C. § 2201, does not confer subject matter jurisdiction but instead identifies

declaratory relief as a potential remedy for claims that the Court already has the power to review.

Skelly Oil Co. v. Phillips Petroleum Co., 339 U.S. 667, 671 (1950). Plaintiffs’ Claims Two, Three,

and Four, seeking declaratory relief based on the same theories that they assert in Claim One,

therefore cannot proceed independently. While the Court lacks subject matter jurisdiction over all

Plaintiffs’ claims due to the PRA’s preclusion of judicial review, the Court’s lack of mandamus

jurisdiction over Claim One provides an additional reason that Claims Two, Three, and Four

should also be dismissed. Plaintiffs concede this well-settled rule and thus agree that their Claims

Two, Three, and Four are entirely dependent on the Court’s jurisdiction to consider Claim One.

Pl. Opp. at 34–35. Accordingly, the Court should dismiss Claims Two, Three, and Four for the

same reasons that Claim One should be dismissed.

IV.    PLAINTIFFS HAVE NO VALID CLAIM UNDER THE TAKE CARE CLAUSE

       Plaintiffs’ final claim, Claim Five, repackages the same assertions yet again, this time as a

purported violation of the Constitution’s Take Care Clause. As Defendants have explained, no

court has allowed a plaintiff to circumvent jurisdictional limitations on other causes of action

asserting statutory violations simply by invoking the Take Care Clause. Such a theory would turn

every statutory claim into a constitutional challenge and eviscerate fundamental prerequisites to

judicial review, such as a private right of action and the absence of a statutory preclusion. Def.

Mem. at 27–29.

       Plaintiffs have no cogent response to these obvious flaws in their claim. Rather, they assert

that there is such a thing as nonstatutory review. Pl. Opp. at 35–36. Of course, courts discussing

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nonstatutory review emphasize that, “while such review may be available, it is quite narrow,” and

“is available only to determine whether [an] agency has acted ‘ultra vires’—that is, whether it has

‘exceeded its statutory authority.’” Mittleman v. Postal Regulatory Comm’n, 757 F.3d 300, 307–

08 (D.C. Cir. 2014). But Plaintiffs make no attempt here to assert that the President is acting ultra

vires, nor could they, given that, as relevant here, the President’s authority to conduct meetings

with foreign leaders does not derive from statutes in the first place, but from Article II of the

Constitution. The PRA also does not delegate authority to the President to create or maintain

records of his activities; rather, the President already had that authority, and the PRA simply sets

forth standards for exercising it, with the goal of preserving Presidential records after the President

leaves office. Plaintiffs’ argument regarding nonstatutory review therefore is beside the point and

does nothing to advance their assertions regarding the Take Care Clause.

       Plaintiffs also point to cases that have considered whether an Executive action

impermissibly encroached on Legislative functions. See NLRB v Canning, 573 U.S. 513, 557

(2014) (holding President’s recess appointments to NLRB were not authorized by the Recess

Appointments Clause); Chamber of Commerce v. Reich, 74 F.3d 1322, 1330–31 (D.C. Cir. 1996)

(holding that nonstatutory review was available to consider whether an executive order exercising

procurement power that Congress had delegated through the Procurement Act conflicted with a

statute but recognizing that relief would not be available against the President); United States v.

Juarez-Escobar, 25 F. Supp. 3d 774, 776 (W.D. Pa. 2014) (considering whether an executive order

was an impermissible exercise of legislative rather than executive power). But none of those cases

involved claims seeking affirmative relief against the President under the Take Care Clause.

Indeed, the President was not a defendant in these cases. For example, Juarez-Escobar was a

criminal case, where the court cited the Take Care Clause simply to illustrate the unremarkable



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principle that the Constitution confers executive rather than legislative powers on the President.

See id. (“The President may only ‘take Care that the Laws be faithfully executed . . .’; he may not

take any Executive Action that creates laws.”). Plaintiffs’ assertion that their claims address

“unilateral legislative action[s]” because the President’s alleged PRA violations actually amount

to “chang[ing] the relevant statutes,” Pl. Opp. at 37, is nonsense. Even if Plaintiffs had plausibly

asserted that the President failed to keep records in a certain category in violation of the PRA, such

a failure cannot fairly be considered an amendment of a statute. Under Plaintiffs’ theory, every

statutory violation would actually be a statutory amendment, particularly if repeated. But no court

has held, for example, that a repeat bank robber has effectively amended the federal law prohibiting

bank robbery.

       In sum, while Plaintiffs make half-hearted attempts to distinguish cases cited in

Defendants’ opening brief, they fail to overcome the fact that no court has recognized a cause of

action under the Take Care Clause. On the other hand, courts have repeatedly recognized that

judicial review of the President’s discretionary acts, or of his compliance with the PRA is

unavailable. Indeed, despite Plaintiffs’ contrary assertion, the holding in Dalton v. Specter, 511

U.S. 462 (1994), that judicial review of discretionary Presidential decisions “is not available,” see

id. at 474–75, is directly on point here. As the D.C. Circuit held in Armstrong, the President retains

virtually complete control over the creation, management, and disposal of Presidential records

during his term in office, and the PRA precludes judicial review over his exercise of that authority.

Claim Five therefore should be dismissed.

                                          CONCLUSION

       For the foregoing reasons and those set forth in Defendant’s opening brief, the Court

should dismiss Plaintiffs’ claims in their entirety, with prejudice.



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Dated: October 17, 2019            Respectfully submitted,

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